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                                          DISTRICT ATTORNEY
                                          COUNTY OF NEW YORK
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                                                 (212) 335-9000




CYRUS R. VANCE, JR.
   DISTRICT ATTORNEY




                                                               August 26, 2019
   BY ECF
   Honorable Alison J. Nathan
   United States District Judge
   Southern District of New York
   40 Foley Square
   New York, New York 10007

                       Re: Heleen Mees v. City of New York, et al., 19 Civ. 7346 (AJN)

   Dear Judge Nathan:

            I am an Assistant District Attorney at the New York County District Attorney’s
   Office and counsel for the following defendants in the above-captioned matter:
   “Manhattan District Attorney’s Office,” District Attorney Cyrus R. Vance, Jr.,
   Assistant District Attorneys Nitin Savur and Jeanine Launay, and former-Assistant
   District Attorney Samantha Schott (collectively, “DA defendants”). I write to
   respectfully request that the Court grant the DA defendants a 60-day extension of time,
   from August 28, 2019 to October 28, 2019, to respond to the complaint and, further,
   that the Court endorse the enclosed order unsealing the files related to the underlying
   prosecution of plaintiff Heleen Mees. I have spoken to Ms. Mees, who is proceeding
   pro se, and she consents to both requests.

           This case arises from the prosecution of Ms. Mees on harassment charges based
   on allegations lodged by her former boyfriend, Willem Buiter, that Ms. Mees sent him
   sexually explicit emails and nude photographs. ECF 1 [Complaint] at ¶¶13-14, 25. Ms.
   Mees denies that she sent the emails and photographs and maintains that she was falsely
   accused of doing so by Mr. Buiter, who took the photographs himself during the course
   of their relationship. Id. at ¶¶14-15, 18, 25. The prosecution of Ms. Mees was resolved
   with an adjournment in contemplation of dismissal (“ACD”). Id. at ¶16.

          By this lawsuit, Ms. Mees seeks a declaration that the District Attorney’s Office
   violated her constitutional rights by allegedly failing to disclose, in the course of the
   prosecution, material and exculpatory evidence in the form of 1,251 photographs
   which, according to the complaint, have been subject to forensic analysis confirming
   that they were not taken by Ms. Mees. Id. at ¶¶21-22, 27, 44. Ms. Mees further seeks
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a declaration “vacating” the Criminal Court order entering judgment on the ACD and
either restoring her prosecution to the calendar, or, dismissing it outright. Id. at ¶44.

        The DA defendants respectfully request an extension of time to respond to the
complaint so that we can investigate Ms. Mees’ allegations. The events relating to Ms.
Mees’ claim span several years of litigation in our Criminal Court; in Kings County
Supreme Court in connection with a civil suit filed by Ms. Mees against Mr. Buiter; and
in this Court in connection with an application filed by Ms. Mees to obtain discovery
of the photographs from Mr. Buiter. Id. at ¶¶17-18, 21. Further, given the expiration
of the adjournment period for the ACD, the records of the Police Department and the
District Attorney’s Office relating to Ms. Mees’ arrest and prosecution are statutorily
sealed. The requested extension will enable the undersigned, once in receipt of an
unsealing order, to review these records so that the DA defendants can meaningfully
respond to Ms. Mees’ allegations. On a related note, the DA defendants ask that the
Court endorse the enclosed unsealing order, submitted with Ms. Mees’ consent, so that
we can access the records underlying this lawsuit.

       For these reasons, the DA defendants respectfully request a 60-day extension
of time, until October 28, 2019, to respond to the complaint. A copy of the proposed
unsealed order is enclosed with this letter for Your Honor’s consideration.

        The DA defendants thank the Court for its consideration of this letter.


                                                   Respectfully submitted,

                                                          /s
                                                   Elizabeth Norris Krasnow
                                                   Assistant District Attorney


To:     Heleen Mees (By E-Mail and Mail)
        30 Main Street, Apt. 11H
        Brooklyn, New York 11201
        heleen@heleenmees.com




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 HELEEN MEES,                                         ORDER

                                    Plaintiff,        19 Civ. 7346 (AJN)


                     -against-


 CITY OF NEW YORK, MANHATTAN
 DISTRICT ATTORNEY’S OFFICE,
 CYRUS R. VANCE, JR., NITIN SAVUR,
 JEANINE LAUNAY, SAMANTHA
 SCHOTT,

                                 Defendants.


       UPON THE APPLICATION of defendant Manhattan District Attorney’s

Office and the individually-named defendants employed by the New York County

District Attorney’s Office for the unsealing of records pertaining to the July 1, 2013

arrest and prosecution of plaintiff Heleen Mees under New York County Criminal

Court Docket No. 2013NY050589, which is protected by New York Criminal

Procedural Law §§160.50 and 160.55;

       IT APPEARING that (1) the information sought by defendants is material and

relevant to the above-captioned civil action currently pending in the Southern District

of New York brought by plaintiff Heleen Mees and being defending by the District

Attorney’s Office, and (2) the court has the inherent authority to unseal these records

in connection with this action, see Schomburg v. Bologna, 298 F.R.D. 138, 141 (S.D.N.Y.


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2014) (“Federal courts can and commonly do order production of documents sealed

under Section 160.50”);

         IT IS HEREBY ORDERED that the following records pertaining to the July

1, 2013 arrest and prosecution of plaintiff Heleen Mees under New York County

Criminal Court Docket No. 2013NY050589 are unsealed pursuant to New York

Criminal Procedure Law §§160.50 and 160.55 and may be made available for use in this

civil action: (1) documents and/or files in the custody of the New York City Police

Department; (2) documents and/or files in the custody of the New York County

District Attorney’s Office; (3) documents and/or files in the custody of the Supreme,

Criminal Courts, and/or Family Courts of the State of New York; (4) documents

and/or files in the custody of the New York City Department of Corrections; and (5)

any other documents in the possession of any other agency, investigatory body, or

individual relating to the above;

         IT IS FURTHER ORDERED that the aforementioned records shall be

made available to the New York County District Attorney’s Office for the purpose of

defending against plaintiff’s claims in this civil suit and that this Order will expire at the

end of the litigation.


Dated:         New York, New York
               ___________, 2019


                                       ____________________________________
                                       HONORABLE ALISON J. NATHAN
                                       UNITED STATES DISTRICT JUDGE

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